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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

Consumer Financial Protection Bureau,      )
                                           )
                      Plaintiff,           )
                                           )       C.A. No. 1:17-cv-01323-MN
       v.                                  )
                                           )
The National Collegiate Master Student     )
Loan Trust, et al.,                        )
                                           )
                      Defendants.          )


                                           ORDER

       Upon application of Plaintiff Consumer Financial Protection Bureau (“Bureau”) and for

good cause shown,

                                  WK day
       IT IS HEREBY ORDERED this ______  of ___________,
                                              6HSWHPEHU 2020, that the redacted

portions of the Bureau’s Opposition to Intervenor Transworld Systems Inc.’s Motion to Dismiss

and Intervenors Ambac Assurance Corp., Wilmington Trust Co., and Pennsylvania Higher

Education Assistance Agency’s Motion to Dismiss, D.I. 319, filed in the above-captioned matter,

shall remain under seal.




                                                    _________________________________
                                                   ___ ____ ____ ______
                                                                     _ __
                                                                        _ ________
                                                                                _ ____________
                                                    The
                                                    Th    Honorable
                                                     he Hono    noorable Maryellen Noreika
                                                    United  dS  States
                                                                   tates District Judge
